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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-02680-NYW-TPO


ROCKY MOUNTAIN GUN OWNERS,
NATIONAL ASSOCIATION FOR GUN RIGHTS,
CHARLES BRADLEY WALKER,
BRYAN LAFONTE,
GORDON MADONNA,
JAMES MICHAEL JONES, and
MARTIN CARTER KEHOE,

       Plaintiffs,

v.

THE TOWN OF SUPERIOR,
CITY OF LOUISVILLE, COLORADO,
CITY OF BOULDER, COLORADO, and
BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,

       Defendants.

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         PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
________________________________________________________________________

       Plaintiffs submit the following supplemental authority to inform the Court of

a holding in the Supreme Court today that is dispositive of one of the central issues

in this case.

       On June 5, 2025, the United States Supreme Court entered its decision in

Smith & Wesson Brands, Inc. v. Estados Unidos Mexicanos, --- S.Ct. ---, 2025 WL

1583281 (U.S. June 5, 2025) (slip. op. attached), in which the Court dismissed

Mexico’s case against seven gun manufacturers for failure to state a claim. Id., at



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*9. Critically for purposes of this case, Mexico argued that its claim was supported

by the fact that the manufacturers sold “military style” assault weapons including

AR–15 rifles and AK–47 rifles. The Court rejected this argument holding:

   Finally, Mexico’s allegations about the manufacturers’ “design and marketing
   decisions” add nothing of consequence. As noted above, Mexico here focuses
   on the manufacturers’ production of “military style” assault weapons, among
   which it includes AR–15 rifles [and] AK–47 rifles. But those products are both
   widely legal and bought by many ordinary consumers. (The AR–15 is the most
   popular rifle in the country. See T. Gross, How the AR–15 Became the
   Bestselling Rifle in the U. S., NPR (Apr. 20, 2023.) The manufacturers cannot
   be charged with assisting in criminal acts just because Mexican cartel
   members like those guns too.

Id., at *8 (cleaned up; emphasis added).

      In D.C. v. Heller, 554 U.S. 570 (2008), the Court held that the government

may not ban firearms that are in common use by law abiding citizens. Id., at 625,

627. In Smith & Wesson Brands, the Court held that AR–15 rifles and AK–47 rifles

are in common use by by ordinary citizens. Moreover, the Court held that the mere

fact that criminals also use those firearms has no bearing on the analysis. See also

Garland v. Cargill, 602 U.S. 406, 429 (2024) (Sotomayor, J., dissenting)

(semiautomatic rifles like those used in Las Vegas shooting, which included AR-15s,

are “commonly available, semiautomatic rifles”).

      Smith & Wesson Brands, Inc. is absolutely dispositive on the issue of whether

AR–15 rifles and AK–47 rifles are protected by the Second Amendment. Because

they are in common use by ordinary citizens, they are protected.

Respectfully submitted June 5, 2025.




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/s/ Barry K. Arrington
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Attorneys for Plaintiffs



                           CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2025 I electronically filed a true and correct
copy of the foregoing with the Clerk of the Court using the CM/ECF system, which
will send notification of such filing via email to parties of record.

/s/ Barry K. Arrington
_______________________
Barry K. Arrington




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